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                             U NITED STA TES D ISTRICT CO U RT
                              SOU TH ERN DISTRICT OF FLORIDA
                           CA SE N O .13-14057-CR-M ARTlN EZ/LY N CH

  UN ITED STA TES O F A M ERICA

          Plaintiff,
  VS.

  N IK KIE SHA RD A Y BEN N ETT,

          Defendant.


         ORDER ADOPTING M AGISTR ATE'S REPORT AND RECOM M ENDATION

         TH IS CA USE cam e before the Courtupon the OrderofReference from the D istrict
  Courttoconducta ChangeofPleabeforeaM agistrateJudge.
         TH E M ATTER wasreferred toM agistrateJudge Frnnk J.Lynch Jr,on April23,2014.
  A ReportandRecommendationwasfiledonM ay9,2014,(D.E.#136),recommendingthatthe
  Defendant'spleaofguilty beaccepted. Duringthe ChangeofPleahearing,theM agistrateJudge
  questionedtheDefendantregarding herwaiverofappealin which theDefendantacknowledged
  on therecord thatshe waswaiving orgivingup a11rightsto appealany sentence imposed by the
  D istrictCourtin this case exceptunderthe lim ited circum stances contained w ithin the appeal
  w aiverprovision from the Plea Agreem ent.

         ThepartieswereaffordedtheopportunitytofileobjectionstotheReportand
  Recom mendation,howevernonewerefiled.TheCourthasreviewed theentire fileand record

  andnotesthatnoobjectionshavebeenfiled.Aftercarefulconsideration,theCourtaffirmsand
  adoptsthe ReportandRecom mendation.Accordingly,itishereby:
         O RD ER ED A N D A D JUD G ED that
         TheReportandRecommendation (D.E.#136)ofUnited StatesM agistrateJudgeFrankJ.
  Lynch Jr,ishereby A FFIR M ED and A D O PTED in its entirety.
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        TheDefendantisadjudgedguiltytoCountOneofthelndictment,which chargesthe
  Defendantin CountOne:with conspiracy toposseswith intentto distributeacontrolled
  substance,nam ely cocainehydrochloride,in violation ofTitle21,United StatesCode,Sections
  841(a)(1)and841(b)(1)(A),a11in violation ofTitle21sUnitedStatesCode,Sections846.
        DONE AND O RDERED in ChambersatM iami,Florida,thi             day ofM ay,2014.

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                                               JOSE E. RTW EZ
                                               U N ITED S A TES D ISTRICT UD G E



  Copied:H on.M agistrate Lynch
  A1lCounselOfRecord
  U .S.Probation Oftice
